\OO°\IO\Ul-I>UJN»-

NNNNNNNNNl-*)-*»-¢»_o)-‘)-I»-»-»-»»-¢
oo\lo\\l\-PWNv-‘O\D°°\IQ\LII-P~L)JNF-‘O

Case 16-13165-ab| Doc 38 Entered 03/28/18 12:14:27 Page 1 of 6

BRIAN D. SHAPIRO E-Filed: March 22, 2018
Trustee in Bankruptcy

510 S. 8th Street
Las Vegas, NV 89101
(702) 386-8600 Fax (702) 383-0994
trustee@trusteeshapiro.com
UNITED STATES BANKRUPTCY COURT
" DISTRICT OF NEVADA
In re Case No. BK-S-16-13165 LED
FELIX, ELZA E, IN PROCEEDINGS UNDER CHAPTER 7
TRUSTEE'S REPORT OF SALE OF REAL
Debtor(s). PROPERTY
Date: N/A
Time: N/A

 

BRIAN D.~ SHAPIRO, Trustee of the above-entitled bankruptcy estate, reports the sale of
Real Property located at 31 17 Porter Avenue, El Paso TX, 79930, as shown on the Settlement
" Statement, attached hereto.

The Trustee received a net total of $58,181.84 from the sale (shown as the Bankruptcy
Estate Fee). The sale was held pursuant to an Order of this Couxt entered on August 23, 2017
Doc. 34.

Dated: March 22, 2018 ZS_\~
/

BRIAN D. SHAPIRO, 'I`RUSTEE

 

 

\O°¢\lC\U\-I>WN»-¢

N[\.)NNNNNNN)-¢»-‘»-l»-l»-l)-‘»-¢»-\v-lv-¢
Oo\lO\Lh-l>le-‘C>\OQQ\IG\U\-|>L»JN»-Q

 

 

 

Case 16-13165-ab| Doc 38 Entered 03/28/18 12:14:27 Page 2 of 6

EXHIBIT l

 

 

Case 16-13165-ab| Doc 38 Entered 03/28/18 12:14:27 Page 3 of 6

C|osing Disclosu re
C|osing |nformatlon Transaction lnformat|on
l-"B\¢W 211/2018 m voMAnnAanoELY MENoEz and musa cHAvez
oossz 217/2013 Lol»sz
olshursemem nm 117/2018 3117 Porter Ave . . .
Sot\!omnnt mm maniogy, Inc Paso. TX 79930
men 110863 sauer anim sunrmo, mc musrsc ronnie estan oF
many 1016&1, atocx 13, olomndview, m el paso usuqu

County, TX 1180 N Town Gr.

am Pon‘ren Aveuue Lasvesas. Nvasm

st PAso. Tx 79930
mm ssa,ooo.oo

Summaries of Tr;msactions

 

 

 

     

01 $a.ioPltooofFropuw
01 Sa¢evdoeofnny?ononnl?ropony mciudodln$a!o
03

04

05

05

07

08

euwen§u,ruem=.wvvwwwww
§wnww\vw

C°WWFWWW

W@"¥TW

s.=iwu nominee

M\.mi'am

liko

5 124 2115sz 8

 

 

mbm$l!l="§w¢¢hrs

01 gross P_npos|!

owe cons raw ar owns ul

wm i._oan{s_) Assomed or Taicen indian to

FMOFF 10 €|'lASE BANK to JP MDRGAN CHASE BANK
N.A.

5693.61

Adj\l$|.ll‘\¢n! for owl\$l'$ Fc!icy Fald by 501le $485.00

13 S'»"$'S 3 8 3:¢°\1€ 28 3

Adhnunams forums unpaid by seller
14 div mem lanes

1_!'» Coumympenvmes ill/mn
16 mootness iam

17 schooipropmymes

18 Mt|DTm

19 BOA noon

__i

To\ai one to Seilor at timing
Total 0ue room Sel!er al dining

_Cash Cl From B‘|’o Seller

th 2I7I2018 5199.21

$0.00

Cl.°$lNG blSCLQSUl\E
Fi|o No. 17@63

$WM

swam*!s.

~$58.000-00

 
   

Contact information

 

 

 

mras`_`"` manome ' ` umwa
ELPAso.Txmzs
Tii`i.ioenseio §§1413_
` ' motion tacoma
umw
9154§5§3293
- i)'....-......
A"?E.*‘§.‘}‘-_TI ...
manvxmoeisolsulcea
. .. ELRAS°,TX?B$BS
lig;li_consoll> 383751
_Conta¢g 1055 MRA
F¢!'.‘\il¢¢`lxl-*w\¥€m mm _ .
.E".\=" Ume
Fiu`me srs-sosast
§EFHI_..;MENIAGW . .
Nagpa `i`i'tleo_iogy_.'ln:
futures amswmmmeway,usao
mon.unon
Tx'-'P°!“° 19 "1§.3°!§1_“"793
cons wu¥»nvm
wmath license lp 11§1_3_§\§?75
Eq\all dwoa!ry§hgmndsowattwm
_Fh_one 713-nam 4.

Questtons? if you have questions about the
ioantermsorcostsonthls form, usethe ,l
contact information above. To get more
information or make a oomplain\, contact the ,
Consumer Flnanclal Protection Bureau at .
www.oonsumorfinance.govlmortgago-dos!ng l

 

PAG£ l 0? 3
DZ!BI llmn: 02/0§/18 1:5|"M

Case 16-13165-ab| Doc 38 Entered 03/28/18 12:14:27 Page 4 of 6

Closing Cost Detai|s
' amend

3
88 838‘6

83828$8 28

88888888

~
.
¢
-
¢
~
.
¢
~
.
¢
o
.
.

8888888

 

Cl.OSlNG DBQ.OSURE FAGE 20 0F 3
me No. 170853 DRMCZNEI!B 1:50 FM

Case 16-13165-ab|

Other Costs

E.ram'ana-o§nerodveri§mencr¢¢i ' "

01 RacurdingFees Douc£: 534.{10

02 Transfer Tax
F. Pmpafd§

01 Homeownor’s lnsurance Premium (12

mo.}

02 Mortgagelnsurance Fremlum( mo.|

03 Fropaidlnteresi[ perda\f from
l
04 Propenv Taxest mo.)

to
10

to

Doc 38 Entered 03/28/18 12:14:27 Page 5 of 6

 

Tlllaology. lnc.

m rsr raus‘r msunnuc§

io
to Kaplan's Mor\gage Company, LLC

10

G. initial £scmw Pa"ytnent at Clos|ng !o.l\tapian's Mortga¢e Company, LL_C

Mortgage: $SB¢DG

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

01 Homeowner's insurance $49.55 per month for 2 mn.

02 Mortga§e insurance per month-for mm

03 Property Taxes 5159.45 per month for 4 mo. y
04 Assessment 'iaxos per month for mo.

05 Ciiy Propertv Taxos per month for 2 mu.

06 Counw ?roperty Taxes per month for mo.

07 MUD Taxes per month for mn

08 Order runs per month for mo.

09 Schuo! Propeny`l'axes per month'for mo.

10 HOA Bues per month for mo

11 Aggroguto Ad}uslrnont
iu»:r>u¢rz . 1 »;- . 'sz_s.w:)‘s»
01 2017 & 2016 COUMTY TAX EL PASO COUNTY 55,015.34

#GEBS~$§B-OBD-ZSGO
02 BANKRUPTC‘{ ESTA'TE FEE 10 Banllruptcy Trustee 558,181.84
03 COMNEISS|DN APPHOVE£) B¥ to BK Gluba| Real Estate Servlces 5523.19
COURT OHEI£R

04 CDMMISSEON- LIST!NG AGENT to APPLE REALT‘I 5513.18

us commission simms AGENT w success umw 5523.13
05 HOME WARRANTY to' Old Ropubll¢: blame Protecticn $3?5.00
'i;fbint§¢fb§i~d'hu§f$;i??"" ' " " ' " " ` ': ` ` : w " 555.522-15

 

CLOSING DlSCLOSUHE
Fl|l': No. 176363

PAGE 211 OF 3
Date{'l”nnz: 02/05/18 150 FM

Case 16-13165-ab| Doc 38 Entered 03/28/18 12:14:27 Page 6 of 6

§§ Z? ,__

BRMNSHAP|RO B i: 1»

    

guaqu mmo$une 'Pnoss on
anno.r)ossa oats/nme ams/muslim

